Case 2:04-cv-02016-.]DB-dkv Document 60 Filed 06/01/05 Page 1 of 3 Page|D 77

UNITED sTATES DISTRICT COURT """-ED B`f' LL&<.. D.c.
wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 95 JUH ~ l PM 5= l 7

 

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AMERICOACH ToURS,INC.,individually, WD (;,'L: m3 inMFH,S

and as subrogee of DISCOVER RE,

Plaintiff, Consolidated Lead Case

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o. - a
vS_ ) G_EV
) Mays/Vescovo
ESPAR, INC., DETROIT DIESEL )
C{)RPORATION, and MOTOR COACH )
INDUSTR]ES, INC., )
) JURY DEMANDED
)

Defendants.

 

.) ORDER

 

It appearing to the Court, for good cause shown, that the Motion of Defendant MCI to
Submit and File Reply Brief is Well taken. It is hereby

ORDERED that Motor Coach Industries, Inc., is granted leave to tile its Reply in
Support of Motion to Dismiss. The Reply, attached as Exhibit “A” to Defendant’s Motion for
Leave to Reply, shall be deemed filed as of the date of the filing of that Motion, and no
additional filing is required.

ENTER:

 

,.J L>MQQ/\

[`ED STATES DISTRICT .IUDGE
`DI'AN'E'VES€GVG,-MAG-lSME-JUDGE

 

This document entered on the docket sheet In compliance @’O
with ama 53 and/or rstag FRCP on 5

 

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